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PURCHASE MONEY

DEED OF TRUST

DEFINITIONS

Words used in multiple sections of this document are defined below and other words are defined in
Sections 3, 11, 13, 18, 20 and 21, Certain rules regarding the usage of words used in this document
are also provided in Section 16. /

(A) “Security Instrument” means this document, which is dated FEBRUARY 5, 2007,

together with all Riders to this document.

(B) “Borrower” is RONALD G ESTEP, JR. AND CINDY L ESTEP, AS TENANTS BY THE
ENTIRETY.

 

    

Title Order No. |
Escrow No.:

   
 
 

 

 

  

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RECARDING FEE Both

Borrower is the trustor under this Security Instrument. i BING FEE 4g @
(C) “Lender” is FIRST HOME MORTGAGE CORPORATION. Root CFR? Rept. & BE2I7

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Lender is a CORPORATION organized and existing
under the laws of MARYLAND. Lender's address is
8003 CORPORATE DR STE A, BALTIMORE, MD 21236.

(D) “Trustee”is DAVID E. WATERS AND ANTHONY B. OLMERT, SR., 8003 CORPORATE
DRIVE, SUITE A BALTIMORE, MD 21236.

(E) “MERS” is Mortgage Electronic Registration Systems, Inc. MERS is a separate corporation that is
acting solely as anominee for Lender and Lender's successors and assigns. MERS Is the beneficiary
under this Security Instrument. MERS is organized and existing under the laws of Delaware, and has
an address and telephone number of P.O. Box 2026, Flint, MI 48501-2026, tel. (888) 679-MERS.

(F) “Note” means the promissory note signed by Borrower and dated FEBRUARY 5, 2007.

The Note states that Borrower owes Lender ****ONE HUNDRED EIGHTY EIGHT THOUSAND AND
NO/LOOK#HAKHRHARHH RHR KR KEKEAA KE RKEKAK ERK EK Dollars (U.S. $188,000.00 )
plus interest. Borrower has promised to pay this debt in regular Periodic Payments and to pay the debt

in fullno later than FEBRUARY 1, 2037.
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MARYLAND--Single Family--Fannie Mae/Freddie Mac UNIFORM INSTRUMENT
Page 1 of 12

 
 

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LOAN
(G) “Property” means the property that is described below under the heading “Transfer of Rights in the
Property.”
(H) “Loan” means the debt evidenced by the Note, plus interest, any prepayment charges and late
charges due under the Note, and all sums due under this Security Instrument, plus interest.
(1) “Riders” means all Riders to this Security Instrument that are executed by Borrower. The following
Riders are to be executed by Borrower [check box as applicable]: ,

(x ]Adjustable Rate Rider [__}Condominium Rider {__] Second Home Rider
(“] Balloon Rider ("_]Planned Unit Development Rider [—_] Other(s) [specify]
(__]1-4 Family Rider (__] Biweekly Payment Rider

(_lV.A. Rider

(J) “Applicable Law” means all controlling applicable federal, state and local statutes, regulations,
ordinances and administrative rules and orders (that have the effect of law) as well as all applicable final,
non-appealable judicial opinions.

(K) “Community Association Dues, Fees, and Assessments” means all dues, fees, assessments
and other charges that are imposed on Borrower or the Property by a condominium association,
homeowners association or similar organization.

(L) “Electronic Funds Transfer” means any transfer of funds, other than atransaction originated by check,
draft, or similar paper instrument, which is initiated through an electronic terminal, telephonic instrument,
computer, or magnetic tape so as to order, instruct, or authorize a financial institution to debit or credit an
account. Such term includes, but is not limited to, point-of-sale transfers, automated teller machine
transactions, transfers initiated by telephone, wire transfers, and automated clearinghouse transfers.
(M) “Escrow Items” means those items that are described in Section 3.

(N) “Miscellaneous Proceeds” means any compensation, settlement, award of damages, or proceeds
paid by any third party (other than insurance proceeds paid under the coverages described in Section
5) for: (i) damage to, or destruction of, the Property; (ii) condemnation or other taking of all or any part
of the Property; (ili) conveyance in lieu of condemnation; or (iv) misrepresentations of, or omissions as
to, the value and/or condition of the Property.

(O) “Mortgage Insurance” means insurance protecting Lender against the nonpayment of, or default
on, the Loan.

(P) “Periodic Payment” means the regularly scheduled amount due for (i) principal and interest under
the Note, plus (ji) any amounts under Section 3 of this Security Instrument.

(Q) “RESPA” means the Real Estate Settlement Procedures Act (12 U.S.C. §2601 et seq.) and its
implementing regulation, Regulation X (24 C.F.R. Part 3500), as they might be amended from time to
time, or any additional or successor legislation or regulation that governs the same subject matter, As
used in this Security Instrument, “RESPA" refers to all requirements and restrictions that are imposed
in regard to a “federally related mortgage loan” even if the Loan does not qualify as a “federally related
mortgage loan” under RESPA.

(R) “Successor in Interest of Borrower” means any party that has taken title to the Property, whether
or not that party has assumed Borrower's obligations under the Note and/or this Security Instrument.

TRANSFER OF RIGHTS IN THE PROPERTY

The beneficiary of this Security Instrument is MERS (solely as nominee for Lender and Lender’s
successors and assigns) and the successors and assigns of MERS. This Security Instrument secures
to Lender: (i) the repayment of the Loan, and all renewals, extensions and modifications of the Note;
and (ii) the performance of Borrower's covenants and agreements under this Security instrument and
the Note. For this purpose, Borrower irrevocably grants and conveys to Trustee, in trust, with power of
sale, the following described property located in the County

[Type of Recording Jurisdiction] of CECIL [Name of Recording Jurisdiction}:
SEE LEGAL DESCRIPTION ATTACHED HERETO AND MADE A PART HEREOF.

APN #: CCO805080622

Initials: E

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[Street] [City]

which currently has the address of 43 PINE BLUFF LANE, ELKTON,

Maryland 21921 (“Property Address”):
[Zip Code}

TOGETHER WITH all the improvements now or hereafter erected on the property, and all
easements, appurtenances, and fixtures now or hereafter a part of the property. All replacements and
additions shall also be covered by this Security Instrument. All of the foregoing is referred to in this
Security Instrument as the “Property.” Borrower understands and agrees that MERS holds only legal!
title to the interests granted by Borrower in this Security Instrument, but, ifnecessary to comply with law
or custom, MERS (as nominee for Lender and Lender's successors and assigns) has the right: to
exercise any or all of those interests, including, but not limited to, the right to foreclose and sell the
Property; and to take any action required of Lender including, but not limited to, releasing and canceling
this Security Instrument.

BORROWER COVENANTS that Borrower is lawfully seised of the estate hereby conveyed and has
the right to grant and convey the Property and that the Property is unencumbered, except for
encumbrances of record. Borrower warrants and will defend generally the title to the Property against
all claims and demands, subject to any encumbrances of record.

THIS SECURITY INSTRUMENT combines uniform covenants for national use and non-uniform
covenants with limited variations by jurisdiction to constitute a uniform security instrument covering real
property.

UNIFORM COVENANTS. Borrower and Lender covenant and agree as follows:

1. Payment of Principal, Interest, Escrow Items, Prepayment Charges, and Late Charges.
Borrower shail pay when due the principal of, and interest on, the debt evidenced by the Note and any
prepayment charges and late charges due under the Note. Borrower shall also pay funds for Escrow
Items pursuant to Section 3. Payments due under the Note and this Security Instrument shall be made
in U.S. currency, However, if any check or other instrument received by Lender as payment under the
Note or this Security Instrument is returned to Lender unpaid, Lender may require that any or all
subsequent payments due under the Note and this Security Instrument be made in one or more of the
following forms, as sefected by Lender: (a) cash; (b) money order; (c) certified check, bank check,
treasurer's check or cashier’s check, provided any such check is drawn upon an institution whose
deposits are insured by a federal agency, instrumentality, or entity; or (d) Electronic Funds Transfer.

Payments are deemed received by Lender when received at the location designated in the Note or
at such other location as may be designated by Lender in accordance with the notice provisions in
Section 15. Lender may return any payment or partial payment if the payment or partial payments are
insufficient to bring the Loan current. Lender may accept any payment or partial payment insufficient
to bring the Loan current, without waiver of any rights hereunder or prejudice to its rights to refuse such
payment or partial payments in the future, but Lender is not obligated to apply such payments at the
time such payments are accepted. If each Periodic Payment is applied as of its scheduled due date,
then Lender need not pay interest on unapplied funds. Lender may hold such unapplied funds until
Borrower makes payment to bring the Loan current. If Borrower does not do so within a reasonable
period of time, Lender shall either apply such funds or return them to Borrower. If not applied earlier,
such funds will be applied to the outstanding principal balance under the Note immediately prior to
foreclosure. No offset or claim which Borrower might have now or in the future against Lender shall
relieve Borrower from making payments due under the Note and this Security Instrument or performing
the covenants and agreements secured by this Security Instrument.

2. Application of Payments or Proceeds. Except as otherwise described in this Section 2, all
payments accepted and applied by Lender shall be applied in the following order of priority: (a) interest
due under the Note; (b) principal due under the Note; (c) amounts due under Section 3. Such payments
shall be applied to each Periodic Paymentin the order in which it became due. Any remaining amounts
shall be applied first to late charges, second to any other amounts due under this Security Instrument,
and then to reduce the principal balance of the Note.

If Lender receives a payment from Borrower for a delinquent Periodic Payment which includes a
sufficient amount to pay any late charge due, the payment may be applied to the delinquent payment
and the late charge. If more than one Periodic Paymentis outstanding, Lender may apply any payment
received from Borrower to the repayment of the Periodic Payments if, and to the extent that, each
payment can be paid in full. To the extent that any excess exists after the payment is applied to the full
payment of one or more Periodic Payments, such excess may be applied to any late charges due.
Voluntary prepayments shall be applied firstto any prepayment charges and then as described in the Note.

Any application of payments, insurance proceeds, or Miscellaneous Proceeds to principal due
under the Note shail not extend or postpone the due date, or change the amount, of the Periodic
Payments.

 
 

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3. Funds for Escrow Items. Borrower shall pay to Lender on the day Periodic Payments are aue
under the Note, until the Note is paid in full, asum (the “Funds”) to provide for payment of amounts due
for: (a) taxes and assessments and other items which can attain priority over this Security Instrument
as a lien or encumbrance on the Property; (b) leasehold payments or ground rents on the Property, if
any; (c) premiums for any and all insurance required by Lender under Section 5; and (d) Mortgage
Insurance premiums, if any, or any sums payable by Borrower to Lender in lieu of the payment of
Mortgage Insurance premiums in accordance with the provisions of Section 10. These items are called
“Escrow Items.” At origination or at any time during the term of the Loan, Lender may require that
Community Association Dues, Fees, and Assessments, if any, be escrowed by Borrower, and such
dues, fees and assessments shall be an Escrow Item. Borrower shall promptly furnish to Lender all
notices of amounts to be paid under this Section. Borrower shall pay Lender the Funds for Escrow Items
unless Lender waives Borrower's obligation to pay the Funds for any or all Escrow Items, Lender may
waive Borrower's obligation to pay to Lender Funds for any or all Escrow Items at any time. Any such
waiver may only be in writing. In the event of such waiver, Borrower shall pay directly, when and where
payable, the amounts due for any Escrow Items for which payment of Funds has been waived by Lender
and, if Lender requires, shall furnish to Lender receipts evidencing such payment within such time
period as Lender may require. Borrower’s obligation to make such payments and to provide receipts
shall for all purposes be deemed to be a covenant and agreement contained in this Security Instrument,
as the phrase “covenant and agreement” is used in Section 9. If Borrower is obligated to pay Escrow
Items directly, pursuant to a waiver, and Borrower fails to pay the amount due for an Escrow Item, Lender
may exercise its rights under Section 9 and pay such amount and Borrower shall then be obligated
under Section 9 to repay to Lender any such amount. Lender may revoke the waiver as to any or all
Escrow Items at any time by a notice given in accordance with Section 15 and, upon such revocation,
Borrower shall pay to Lender all Funds, and in such amounts, that are then required under this Section
3.

Lender may, at any time, collect and hold Funds in an amount (a) sufficientto permit Lender to apply
the Funds at the time specified under RESPA, and (b) not to exceed the maximum amount a lender can
require under RESPA. Lender shall estimate the amount of Funds due on the basis of current data and
reasonable estimates of expenditures of future Escrow Items or otherwise in accordance with
Applicable Law.

The Funds shall be held in an institution whose deposits are insured by a federal agency,
instrumentality, or entity (including Lender, if Lender is an institution whose deposits are so insured) or
in any Federal Home Loan Bank. Lender shall apply the Funds to pay the Escrow Items no later than
the time specified under RESPA. Lender shall not charge Borrower for holding and applying the Funds,
annually analyzing the escrow account, or verifying the Escrow Items, unless Lender pays Borrower
interest on the Funds and Applicable Law permits Lender to make such acharge. Unless an agreement
is made in writing or Applicable Law requires interest to be paid on the Funds, Lender shall not be
required to pay Borrower any interest or earnings on the Funds. Borrower and Lender can agree in
writing, however, that interest shall be paid on the Funds. Lender shall give to Borrower, without charge,
an annual accounting of the Funds as required by RESPA.

If there is a surplus of Funds held in escrow, as defined under RESPA, Lender shall account to
Borrower for the excess funds in accordance with RESPA. If there is a shortage of Funds held in escrow,
as defined under RESPA, Lender shall notify Borrower as required by RESPA, and Borrower shall pay
to Lender the amount necessary to make up the shortage in accordance with RESPA, but in no more
than 12 monthly payments. If there is a deficiency of Funds held in escrow, as defined under RESPA,
Lender shall notify Borrower as required by RESPA, and Borrower shall pay to Lender the amount
necessary to make up the deficiency in accordance with RESPA, but in no more than 12 monthly
payments.

Upon payment in full of all sums secured by this Security Instrument, Lender shall promptly refund
to Borrower any Funds held by Lender.

4. Charges; Liens. Borrower shall pay all taxes, assessments, charges, fines, and impositions
attributable to the Property which can attain priority over this Security Instrument, leasehold payments
or ground rents on the Property, if any, and Community Association Dues, Fees, and Assessments, if
any. To the extent that these items are Escrow Items, Borrower shall pay them in the manner provided
in Section 3.

Borrower shall promptly discharge any lien which has priority over this Security Instrument unless
Borrower: (a) agrees in writing to the payment of the obligation secured by the lien in a manner
acceptable to Lender, but only so long as Borrower is performing such agreement; (b) contests the lien
in good faith by, or defends against enforcement of the lien in, legal proceedings which in Lender's
opinion operate to prevent the enforcement of the lien while those proceedings are pending, but only
until such proceedings are concluded; or (c) secures from the holder of the lien an agreement
satisfactory to Lender subordinating the lien to this Security Instrument. If Lender determines that any
part of the Property is subject to a lien which can attain priority over this Security Instrument, Lender may
give Borrower a notice identifying the lien. Within 10 days of the date on which that notice is given,
Borrower shall satisfy the lien or take one or more of the actions set forth above in this S .

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Lender may require Borrower to pay a one-time charge for a real estate tax verification and/or

reporting service used by Lender in connection with this Loan.

5. Property Insurance. Borrower shall keep the improvements now existing or hereafter erected
on the Property insured against loss by fire, hazards included within the term “extended coverage,” and
any other hazards including, but not limited to, earthquakes and floods, for which Lender requires
insurance, This insurance shall be maintained in the amounts (including deductible levels) and for the
periods that Lender requires. What Lender requires pursuant to the preceding sentences can change
during the term of the Loan. The insurance carrier providing the insurance shall be chosen by Borrower
subject to Lender's right to disapprove Borrower's choice, which right shall not be exercised
unreasonably. Lender may require Borrower to pay, in connection with this Loan, either: (a) a one-time
charge for flood zone determination, certification and tracking services; or (b) a one-time charge for flood
zone determination and certification services and subsequent charges each time remappings or similar
changes occur which reasonably might affect such determination or certification. Borrower shall also be
responsible for the payment of any fees imposed by the Federal Emergency Management Agency in
connection with the review of any flood zone determination resulting from an objection by Borrower.

If Borrower fails to maintain any of the coverages described above, Lender may obtain insurance
coverage, at Lender's option and Borrower's expense. Lender is under no obligation to purchase any
particular type or amount of coverage. Therefore, such coverage shall cover Lender, butmight or might
not protect Borrower, Borrower's equity in the Property, or the contents of the Property, against any risk,
hazard or liability and might provide greater or lesser coverage than was previously in effect. Borrower
acknowledges that the cost of the insurance coverage so obtained might significantly exceed the cost
of insurance that Borrower could have obtained. Any amounts disbursed by Lender under this Section
5 shall become additional debt of Borrower secured by this Security Instrument. These amounts shall
bear interest at the Note rate from the date of disbursement and shall be payable, with such interest,
upon notice from Lender to Borrower requesting payment.

All insurance policies required by Lender and renewals of such policies shall be subject to Lender's
right to disapprove such policies, shall include a standard mortgage clause, and shall name Lender as
mortgagee and/or as an additional loss payee. Lender shall have the right to hold the policies and
renewal certificates. If Lender requires, Borrower shall promptly give to Lender all receipts of paid
premiums and renewal notices. If Borrower obtains any form of insurance coverage, not otherwise
required by Lender, for damage to, or destruction of, the Property, such policy shall include a standard
mortgage clause and shall name Lender as mortgagee and/or as an additional loss payee.

In the event of loss, Borrower shall give prompt notice to the insurance carrier and Lender. Lender
may make proof of loss if not made promptly by Borrower. Unless Lender and Borrower otherwise agree
in writing, any insurance proceeds, whether or not the underlying insurance was required by Lender,
shall be applied to restoration or repair of the Property, ifthe restoration or repair is economically feasible
and Lender's security is not lessened. During such repair and restoration period, Lender shall have the
right to hold such insurance proceeds until Lender has had an opportunity to inspect such Property to
ensure the work has been completed to Lender's satisfaction, provided that such inspection shall be
undertaken promptly. Lender may disburse proceeds for the repairs and restoration in asingle payment
or in a series of progress payments as the work is completed. Unless an agreement is made in writing
or Applicable Law requires interest to be paid on such insurance proceeds, Lender shall not be required
to pay Borrower any interest or earnings on such proceeds. Fees for public adjusters, or other third
parties, retained by Borrower shall not be paid out of the insurance proceeds and shall be the sole
obligation of Borrower. {fthe restoration or repair is not economically feasible or Lender's security would
be lessened, the insurance proceeds shall be applied to the sums secured by this Security Instrument,
whether or not then due, with the excess, if any, paid to Borrower. Such insurance proceeds shall be
applied in the order provided for in Section 2.

If Borrower abandons the Property, Lender may file, negotiate and settle any available insurance
claim and related matters. If Borrower does not respond within 30 days to a notice from Lender that the
insurance carrier has offered to settle a claim, then Lender may negotiate and settle the claim. The 30-
day period will begin when the notice is given. In either event, or if Lender acquires the Property under
Section 22 or otherwise, Borrower hereby assigns to Lender (a) Borrower's rights to any insurance
proceeds in an amount not to exceed the amounts unpaid under the Note or this Security Instrument,
and (b) any other of Borrower's rights (other than the right to any refund of unearned premiums paid
by Borrower) under all insurance policies covering the Property, insofar as such rights are applicable
to the coverage of the Property. Lender may use the insurance proceeds either to repalr or restore the
Property or to pay amounts unpaid under the Note or this Security Instrument, whether or not then due.

6. Occupancy. Borrower shall occupy, establish, and use the Property as Borrower's principal
residence within 60 days after the execution of this Security Instrument and shall continue to occupy
the Property as Borrower's principal residence for at least one year after the date of occupancy, unless
Lender otherwise agrees in writing, which consent shall not be unreasonably withheld, or unless
extenuating circumstances exist which are beyond Borrower's control.

7. Preservation, Maintenance and Protection of the Property; Inspections. Borrower shall not
destroy, damage or impair the Property, allow the Property to deteriorate or comm ste on
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Property. Whether or not Borrower is residing in the Property, Borrower shall maintain the Property in
order to prevent the Property from deteriorating or decreasing in value due to its condition. Unless it is
determined pursuant to Section 5 that repair or restoration is not economically feasible, Borrower shall
promptly repair the Property if damaged to avoid further deterioration or damage. If insurance or
condemnation proceeds are paid in connection with damage to, or the taking of, the Property, Borrower
shall be responsible for repairing or restoring the Property only if Lender has released proceeds for such
purposes, Lender may disburse proceeds for the repairs and restoration in a single payment or ina
series of progress payments as the work is completed. If the insurance or condemnation proceeds are
not sufficient to repair or restore the Property, Borrower is not relieved of Borrower's obligation for the
completion of such repair or restoration.

Lender or its agent may make reasonable entries upon and inspections of the Property, If it has
reasonable cause, Lender may inspect the interior of the improvements on the Property. Lender shall give
Borrower notice at the time of or prior to such an interior inspection specifying such reasonable cause.

8. Borrower's Loan Application. Borrower shall be in default if, during the Loan application
process, Borrower or any persons or entities acting at the direction of Borrower or with Borrower's
| knowledge or consent gave materially false, misleading, or inaccurate information or statements to
Lender (or failed to provide Lender with material information) in connection with the Loan. Material
representations include, but are notlimited to, representations concerning Borrower's occupancy of the
Property as Borrower's principal residence.

9. Protection of Lender’s Interest in the Property and Rights Under this Security Instrument.
If (a) Borrower fails to perform the covenants and agreements contained in this Security Instrument, (b)
there is a legal proceeding that might significantly affect Lender's interest in the Property and/or rights
under this Security Instrument (such as a proceeding in bankruptcy, probate, for condemnation or
forfeiture, for enforcement of a lien which may attain priority over this Security Instrument or to enforce
laws or regulations), or (c) Borrower has abandoned the Property, then Lender may do and pay for
whatever is reasonable or appropriate to protect Lender's interest in the Property and rights under this
Security Instrument, including protecting and/or assessing the value of the Property, and securing and/
or repairing the Property. Lender’s actions can include, but are not limited to: (a) paying any sums
secured by a lien which has priority over this Security Instrument; (b) appearing in court; and (c) paying
reasonable attorneys’ fees to protect its interest in the Property and/or rights under this Security
Instrument, including its secured position in a bankruptcy proceeding. Securing the Property includes,
butis not limited to, entering the Property to make repairs, change locks, replace or board up doors and
windows, drain water from pipes, eliminate building or other code violations or dangerous conditions,
and have utilities turned on or off. Although Lender may take action under this Section 9, Lender does
| not have to do so and is not under any duty or obligation to do so. It is agreed that Lender incurs no
liability for not taking any or all actions authorized under this Section 9.

Any amounts disbursed by Lender under this Section 9 shall become additional debt of Borrower
secured by this Security Instrument. These amounts shall bear interest at the Note rate from the date
of disbursement and shall be payable, with such interest, upon notice from Lender to Borrower
requesting payment.

If this Security Instrument is on a leasehold, Borrower shall comply with all the provisions of the
lease. Borrower shall not surrender the leasehold estate and interests herein conveyed or terminate or
cancel the ground lease. Borrower shall not, without the express written consent of Lender, alter or
amend the ground lease. If Borrower acquires fee title to the Property, the leasehold and the fee title
shall not merge unless Lender agrees to the merger in writing.

10. Mortgage Insurance. If Lender required Mortgage Insurance as a condition of making the
Loan, Borrower shall pay the premiums required to maintain the Mortgage Insurance in effect. If, for any
reason, the Mortgage insurance coverage required by Lender ceases to be available from the mortgage
insurer that previously provided such insurance and Borrower was required to make separately
designated payments toward the premiums for Mortgage Insurance, Borrower shall pay the premiums
required to obtain coverage substantially equivalent to the Mortgage Insurance previously in effect, at
a cost substantially equivalent to the cost to Borrower of the Mortgage Insurance previously in effect,
from an alternate mortgage insurer selected by Lender. If substantially equivalent Mortgage Insurance
coverage is not available, Borrower shall continue to pay to Lender the amount of the separately
designated payments that were due when the insurance coverage ceased to be in effect. Lender will
| accept, use and retain these payments as a non-refundable loss reserve in lieu of Mortgage Insurance.
Such loss reserve shall be non-refundable, notwithstanding the fact that the Loan is ultimately paid in
full, and Lender shall not be required to pay Borrower any interest or earnings on such loss reserve.
Lender can no longer require loss reserve payments if Mortgage Insurance coverage (in the amountand
for the period that Lender requires) provided by an insurer selected by Lender again becomes available,
is obtained, and Lender requires separately designated payments toward the premiums for Mortgage
Insurance. If Lender required Mortgage insurance as a condition of making the Loan and Borrower was
required to make separately designated payments toward the premiums for Mortgage Insurance,
Borrower shall pay the premiums required to maintain Mortgage Insurance in effect, or to provide anon-
refundable loss reserve, until Lender's requirement for Mortgage Insurance ends in accardance
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any written agreement between Borrower and Lender providing for such termination or until termination
is required by Applicable Law. Nothing in this Section 10 affects Borrower's obligation to pay interest
at the rate provided in the Note.

Mortgage Insurance reimburses Lender (or any entity that purchases the Note) for certain losses it may
incur if Borrower does not repay the Loan as agreed. Borrower is not a party to the Mortgage Insurance.

Mortgage insurers evaluate their total risk on all such insurance in force from time to time, and may
enter into agreements with other parties that share or modify their risk, or reduce losses. These
agreements are.on terms and conditions that are satisfactory to the mortgage insurer and the other party
(or parties) to these agreements. These agreements may require the mortgage insurer to make
payments using any source of funds that the mortgage insurer may have available (which may include
funds obtained from Mortgage Insurance premiums).

As a result of these agreements, Lender, any purchaser of the Note, another insurer, any reinsurer,
any other entity, or any affiliate of any of the foregoing, may receive (directly or indirectly) amounts that
derive from (or might be characterized as) a portion of Borrower's payments for Mortgage Insurance,
in exchange for sharing or modifying the mortgage insurer's risk, or reducing losses. If such agreement
provides that an affiliate of Lender takes a share of the insurer's risk in exchange for a share of the
premiums paid to the insurer, the arrangement is often termed “captive reinsurance." Further:

(a) Any such agreements will not affect the amounts that Borrower has agreed to pay for
Mortgage Insurance, or any other terms of the Loan. Such agreements will not increase the amount
Borrower will owe for Mortgage Insurance, and they will not entitle Borrower to any refund,

(b) Any such agreements will not affect the rights Borrower has - if any - with respect to the
Mortgage Insurance under the Homeowners Protection Act of 1998 or any other law. These rights
may include the right to receive certain disclosures, to request and obtain cancellation of the
Mortgage Insurance, to have the Mortgage Insurance terminated automatically, and/or to receive
a refund of any Mortgage Insurance premiums that were unearned at the time of such cancellation
or termination.

11. Assignment of Miscellaneous Proceeds; Forfeiture. All Miscellaneous Proceeds are hereby
assigned to and shall be paid to Lender.

If the Property is damaged, such Miscellaneous Proceeds shall be applied to restoration or repair
of the Property, ifthe restoration or repair is economically feasible and Lender's security is not lessened.
During such repair and restoration period, Lender shall have the right to hold such Miscellaneous
Proceeds until Lender has had an opportunity to inspect such Property to ensure the work has been
completed to Lender's satisfaction, provided that such inspection shall be undertaken promptly. Lender
may pay for the repairs and restoration in a single disbursement or in a series of progress payments
as the work is completed, Unless an agreement is made in writing or Applicable Law requires interest
to be paid on such Miscellaneous Proceeds, Lender shall not be required to pay Borrower any interest
or earnings on such Miscellaneous Proceeds. If the restoration or repair is not economically feasible or
Lender's security would be lessened, the Miscellaneous Proceeds shall be applied to the sums secured
by this Security Instrument, whether or not then due, with the excess, if any, paid to Borrower. Such
Miscellaneous Proceeds shall be applied in the order provided for in Section 2,

Inthe event ofa total taking, destruction, or loss in value of the Property, the Miscellaneous Proceeds
shall be applied to the sums secured by this Security Instrument, whether or not then due, with the
excess, if any, paid to Borrower.

In the event of a partial taking, destruction, or loss in value of the Property in which the fair market
value of the Property immediately before the partial taking, destruction, or loss in value is equal to or
greater than the amount of the sums secured by this Security Instrument immediately before the partial
taking, destruction, or loss in value, unless Borrower and Lender otherwise agree in writing, the sums
secured by this Security Instrument shall be reduced by the amount of the Miscellaneous Proceeds
multiplied by the following fraction: (a) the total amount of the sums secured immediately before the
partial taking, destruction, or loss in value divided by (b) the fair market value of the Property immediately
before the partial taking, destruction, or loss in value. Any balance shall be paid to Borrower.

In the event of a partial taking, destruction, or loss in value of the Property in which the fair market
value of the Property immediately before the partial taking, destruction, or loss in value is less than the
amount of the sums secured immediately before the partial taking, destruction, or loss in value, unless
Borrower and Lender otherwise agree in writing, the Miscellaneous Proceeds shall be applied to the
sums secured by this Security Instrument whether or not the sums are then due.

If the Property is abandoned by Borrower, or if, after notice by Lender to Borrower that the Opposing
Party (as defined in the next sentence) offers to make an award to settle a claim for damages, Borrower
fails to respond to Lender within 30 days after the date the notice is given, Lender is authorized to collect
and apply the Miscellaneous Proceeds either to restoration or repair of the Property or to the sums
secured by this Security Instrument, whether or not then due. “Opposing Party” means the third party
that owes Borrower Miscellaneous Proceeds or the party against whom Borrower has a right of action
in regard to Miscellaneous Proceeds.

Borrower shall be in default if any action or proceeding, whether civil or criminal, is begun that, in
Lender's judgment, could result in forfeiture of the Property or other material impairm if Lend o

  
 
 

     

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interest in the Property or rights under this Security Instrument. Borrower can cure sucn a Gerlauit ana,

if acceleration has occurred, reinstate as provided in Section 19, by causing the action or proceeding
to be dismissed with a ruling that, in Lender's judgment, precludes forfeiture of the Property or other
material impairment of Lender’s interest in the Property or rights under this Security Instrument. The
proceeds of any award or claim for damages that are attributable to the impairment of Lender's interest
in the Property are hereby assigned and shall be paid to Lender.

All Miscellaneous Proceeds that are not applied to restoration or repair of the Property shall be
applied in the order provided for in Section 2.

12. Borrower Not Released; Forbearance By Lender Not a Waiver. Extension of the time for
payment or modification of amortization of the sums secured by this Security Instrument granted by
Lender to Borrower or any Successor in Interest of Borrower shall not operate to release the liability of
Borrower or any Successors in Interest of Borrower. Lender shall not be required to commence
proceedings against any Successor in Interest of Borrower or to refuse to extend time for payment or
otherwise modify amortization of the sums secured by this Security Instrumentby reason ofany demand
made by the original Borrower or any Successors in Interest of Borrower. Any forbearance by Lender
in exercising any right or remedy including, without limitation, Lender's acceptance of payments from
third persons, entities or Successors in Interest of Borrower or in amounts less than the amount then
due, shall not be a waiver of or preclude the exercise of any right or remedy.

13. Joint and Several Liability; Co-signers; Successors and Assigns Bound. Borrower covenants
and agrees that Borrower's obligations and liability shall be joint and several. However, any Borrower
who co-signs this Security Instrument but does not execute the Note (a “co-signer”): (a) is co-signing
this Security Instrument only to mortgage, grant and convey the co-signer's interest in the Property
under the terms of this Security Instrument; (b) is not personally obligated to pay the sums secured by
this Security Instrument; and (c) agrees that Lender and any other Borrower can agree to extend,
modify, forbear or make any accommodations with regard to the terms of this Security Instrument or
the Note without the co-signer's consent.

Subject to the provisions of Section 18, any Successor in Interest of Borrower who assumes
Borrower's obligations under this Security Instrumentin writing, and is approved by Lender, shall obtain
all of Borrower’s rights and benefits under this Security Instrument. Borrower shall not be released from
Borrower's obligations and liability under this Security Instrument unless Lender agrees to such release
in writing. The covenants and agreements of this Security Instrument shall bind (except as provided in
Section 20) and benefit the successors and assigns of Lender.

14, Loan Charges. Lender may charge Borrower fees for services performed in connection with
Borrower's default, for the purpose of protecting Lender's interest in the Property and rights under this
Security Instrument, including, but notlimited to, attorneys’ fees, property inspection and valuation fees.
In regard to any other fees, the absence of express authority in this Security Instrument to charge a
specific fee to Borrower shall not be construed as a prohibition on the charging of such fee. Lender may
not charge fees that are expressly prohibited by this Security Instrument or by Applicable Law.

If the Loan is subject to a law which sets maximum loan charges, and that law is finally interpreted so
that the interest or other loan charges collected or to be collected in connection with the Loan exceed the
permitted limits, then: (a) any such loan charge shall be reduced by the amount necessary to reduce the
charge to the permitted limit; and (b) any sums already collected from Borrower which exceeded permitted
limits will be refunded to Borrower. Lender may choose to make this refund by reducing the principal owed
under the Note or by making a direct payment to Borrower. If a refund reduces principal, the reduction will
be treated as a partial prepayment without any prepayment charge (whether or not a prepayment charge
is provided for under the Note). Borrower's acceptance of any such refund made by direct payment to
Borrower will constitute a waiver of any right of action Borrower might have arising out of such overcharge.

15. Notices. All notices given by Borrower or Lender in connection with this Security Instrument
must be in writing. Any notice to Borrower in connection with this Security Instrument shall be deemed
to have been given to Borrower when mailed by first class mail or when actually delivered to Borrower's
notice address ifsent by other means. Notice to any one Borrower shall constitute notice to all Borrowers
unless Applicable Law expressly requires otherwise. The notice address shall be the Property Address
unless Borrower has designated a substitute notice address by notice to Lender. Borrower shall
promptly notify Lender of Borrower's change of address. If Lender specifies a procedure for reporting
Borrower's change of address, then Borrower shall only report a change of address through that
specified procedure, There may be only one designated notice address under this Security Instrument
at any one time. Any notice to Lender shall be given by delivering it or by mailing it by first class mail
to Lender's address stated herein unless Lender has designated another address by notice to Borrower.
Any notice in connection with this Security Instrument shall not be deemed to have been given to Lender
until actually received by Lender. If any notice required by this Security Instrumentis also required under
Applicable Law, the Applicable Law requirement will satisfy the corresponding requirement under this
Security Instrument.

16. Governing Law; Severability; Rules of Construction. This Security Instrument shall be
governed by federal law and the law of the jurisdiction in which the Property is located. All rights an
obligations contained in this Security Instrument are subject to any requirements an i

    

 
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LOAN #:
Applicable Law. Applicable Law might explicitly or implicitly allow the parties to agree by contract or it
might be silent, but such silence shall not be construed as a prohibition against agreement by contract.
In the event that any provision or clause of this Security Instrument or the Note conflicts with Applicable
Law, such conflict shall not affect other provisions of this Security Instrument or the Note which can be
given effect without the conflicting provision.

As used in this Security Instrument: (a) words of the masculine gender shall mean and include
corresponding neuter words or words of the feminine gender; {b) words in the singular shall mean and
include the plural and vice versa; and (c) the word “may” gives sole discretion without any obligation
to take any action.

17. Borrower’s Copy. Borrower shall be given one copy of the Note and ofthis Security Instrument.

18. Transfer of the Property or a Beneficial Interest in Borrower. As used in this Section 18,
“Interest in the Property” means any legal or beneficial interest in the Property, including, but not limited
to, those beneficial interests transferred in a bond for deed, contract for deed, installment sales contract
or escrow agreement, the intent of which is the transfer of title by Borrower ata future date to a purchaser.

If all or any part of the Property or any Interest in the Property is sold or transferred (or if Borrower is not
a natural person and a beneficial interest in Borrower is sold or transferred) without Lender's prior written
consent, Lender may require immediate payment in full of all sums secured by this Security Instrument.
However, this option shall not be exercised by Lender if such exercise is prohibited by Applicable Law.

If Lender exercises this option, Lender shall give Borrower notice of acceleration. The notice shall
provide a period of not less than 30 days from the date the notice is given in accordance with Section
15 within which Borrower must pay all sums secured by this Security Instrument. If Borrower fails to pay
these sums prior to the expiration of this period, Lender may invoke any remedies permitted by this
Security Instrument without further notice or demand on Borrower.

19. Borrower's Right to Reinstate After Acceleration. If Borrower meets certain conditions,
Borrower shall have the right to have enforcement of this Security Instrument discontinued at any time
prior to the earliest of: (a) five days before sale of the Property pursuant to any power of sale contained
in this Security Instrument; (b) such other period as Applicable Law might specify for the termination
of Borrower's right to reinstate; or (c) entry of a judgment enforcing this Security Instrument. Those
conditions are that Borrower: (a) pays Lender all sums which then would be due under this Security
Instrument and the Note as if no acceleration had occurred; (b) cures any default of any other covenants
or agreements; (c) pays all expenses incurred in enforcing this Security Instrument, including, but not
limited to, reasonable attorneys’ fees, property inspection and valuation fees, and other fees incurred
for the purpose of protecting Lender's interest in the Property and rights under this Security Instrument;
and (d) takes such action as Lender may reasonably require to assure that Lender's interest in the
Property and rights under this Security Instrument, and Borrower's obligation to pay the sums secured
by this Security Instrument, shall continue unchanged. Lender may require that Borrower pay such
reinstatementsums and expenses in one or more of the following forms, as selected by Lender: (a) cash;
(b) money order; (c) certified check, bank check, treasurer's check or cashier's check, provided any
such check is drawn upon an institution whose deposits are insured by a federal agency, instrumentality
or entity; or (d) Electronic Funds Transfer. Upon reinstatement by Borrower, this Security Instrument
and obligations secured hereby shall remain fully effective as ifno acceleration had occurred. However,
this right to reinstate shall not apply in the case of acceleration under Section 18.

20. Sale of Note; Change of Loan Servicer; Notice of Grievance. The Note or a partial interest
in the Note (together with this Security Instrument) can be sold one or more times without prior notice
to Borrower. A sale might result in a change in the entity (known as the “Loan Servicer”) that collects
Periodic Payments due under the Note and this Security Instrument and performs other mortgage loan
servicing obligations under the Note, this Security Instrument, and Applicable Law. There also might
be one or more changes of the Loan Servicer unrelated to a sale of the Note. If there is a change of the
Loan Servicer, Borrower will be given written notice of the change which will state the name and address
of the new Loan Servicer, the address to which payments should be made and any other information
RESPA requires in connection with a notice of transfer of servicing. If the Note is sold and thereafter the
Loan is serviced by a Loan Servicer other than the purchaser of the Note, the mortgage loan servicing
obligations to Borrower will remain with the Loan Servicer or be transferred to a successor Loan Servicer
and are not assumed by the Note purchaser unless otherwise provided by the Note purchaser.

Neither Borrower nor Lender may commence, join, or be joined to any judicial action (as either an
individual litigant or the member of a class) that arises from the other party's actions pursuant to this
Security Instrument or that alleges that the other party has breached any provision of, or any duty owed
by reason of, this Security Instrument, until such Borrower or Lender has notified the other party (with
such notice given in compliance with the requirements of Section 15) of such alleged breach and
afforded the other party hereto a reasonable period after the giving of such notice to take corrective
action. If Applicable Law provides a time period which must elapse before certain action can be taken,
that time period will be deemed to be reasonable for purposes of this paragraph. The notice of
acceleration and opportunity to cure given to Borrower pursuant to Section 22 and the notice of
acceleration given to Borrower pursuant to Section 18 shall be deemed to satisfy the notice and
opportunity to take corrective action provisions of this Section 20.

UNIFORM INSTRUMENT
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21. Hazardous Substances. As used in this Section 21: (a) “Hazardous Substances” are those
substances defined as toxic or hazardous substances, pollutants, orwastes by Environmental Law and
the following substances: gasoline, kerosene, other flammable or toxic petroleum products, toxic
pesticides and herbicides, volatile solvents, materials containing asbestos or formaldehyde, and
radioactive materials; (b) “Environmental Law” means federal laws and laws of the jurisdiction where
the Property is located that relate to health, safety or environmental protection; (c) “Environmental
Cleanup” includes any response action, remedial action, or removal action, as defined in Environmental
Law; and (d) an “Environmental Condition” means a condition that can cause, contribute to, or
otherwise trigger an Environmental Cleanup.

Borrower shall not cause or permit the presence, use, disposal, storage, or release of any
Hazardous Substances, or threaten to release any Hazardous Substances, on or in the Property.
Borrower shall not do, nor allow anyone else to do, anything affecting the Property (a) that is in violation
of any Environmental Law, (b) which creates an Environmental Condition, or (c) which, due to the
presence, use, or release ofa Hazardous Substance, creates a condition that adversely affects the value
of the Property. The preceding two sentences shall not apply to the presence, use, or storage on the
Property of small quantities of Hazardous Substances that are generally recognized to be appropriate
to normal residential uses and to maintenance of the Property (including, but not limited to, hazardous
substances in consumer products).

Borrower shall promptly give Lender written notice of (a) any investigation, claim, demand, lawsuit
or other action by any governmental or regulatory agency or private party involving the Property and
any Hazardous Substance or Environmental Law of which Borrower has actual knowledge, (b) any
Environmental Condition, including but not limited to, any spilling, leaking, discharge, release or threat
of release of any Hazardous Substance, and (c) any condition caused by the presence, use or release
of a Hazardous Substance which adversely affects the value of the Property. If Borrower learns, or is
notified by any governmental or regulatory authority, or any private party, that any removal or other
remediation of any Hazardous Substance affecting the Property is necessary, Borrower shall promptly
take all necessary remedial actions in accordance with Environmental Law. Nothing herein shall create
any obligation on Lender for an Environmental Cleanup.

NON-UNIFORM COVENANTS. Borrower and Lender further covenant and agree as follows:

22. Acceleration; Remedies. Lender shall give notice to Borrower prior to acceleration
following Borrower’s breach of any covenant or agreement in this Security Instrument (but not
prior to acceleration under Section 18 unless Applicable Law provides otherwise). The notice
shall specify: (a) the default; (b) the action required to cure the default; (c) a date, not less than
30 days from the date the notice Is given to Borrower, by which the default must be cured; and
(d) that failure to cure the default on or before the date specified in the notice may result in
acceleration of the sums secured by this Security Instrument and sale of the Property. The notice
shall further inform Borrower of the right to reinstate after acceleration and the right to assert in
the foreclosure proceeding the non-existence of a default or any other defense of Borrower to
acceleration and sale. If the default is not cured on or before the date specified in the notice,
Lender at its option may require immediate payment in full of all sums secured by this Security
Instrument without further demand and may invoke the power of sale, assent to decree, and/or
any other remedies permitted by Applicable Law. Lender shall be entitled to collect all expenses
incurred in pursuing the remedies provided in this Section 22, including, but not limited to,
reasonable attorneys’ fees and costs of title evidence.

If Lender invokes the power of sale, Leridér shall mail or cause Trustee to mail a notice of sale
to Borrower in the manner prescribed by Applicable Law. Trustee shall give notice of sale by public
advertisement and by such other means as required by Applicable Law. Trustee, without demand on
Borrower, shall sell the Property at public auction to the highest bidder at the time and place and
under the terms designated in the notice of sale in one or more parcels and in any order Trustee
determines. Trustee may postpone sale of all or any parcel of the Property by public announcement
atthe time and place of any previously scheduled sale and by notice to any other personsas required
by Applicable Law. Lender or its designee may purchase the Property at any sale.

Trustee shall deliver to the purchaser Trustee’s deed conveying the Property without any
covenant or warranty, expressed or implied. The recitals in the Trustee’s deed shall be prima facie
evidence of the truth of the statements made therein. Trustee shall apply the proceeds of the salo
in the following order: (a) to all expenses of the sale, including, but not limited to, Trustee’s fees
of of the gross sale price and reasonable attorneys’ fees; (b) to all sums secured
by this Security Instrument; and (c) any excess to the person or persons legally entitled to it.

Borrower, in accordance with Title 14, Chapter 200 of the Maryland Rules of Procedure, does
hereby declare and assent to the passage of a decree to sell the Property in one or more parcels
by the equity court having jurisdiction for the sale of the Property, and consents to the granting
to any trustee appointed by the assent to decree of all the rights, powers and remedies granted
to the Trustee in this Security Instrument together with any and all rights, powers and remedies
granted by the decree. Neither the assent to decree nor the power of sale granted imthis Secti
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LOAN #:
22 shall be exhausted in the event the proceeding is dismissed before the payment in full of all
sums secured by this Security Instrument.

23. Release. Upon payment of all sums secured by this Security Instrument, Lender or Trustee,
shall release this Security Instrument and mark the Note “paid” and return the Note to Borrower.
Borrower shall pay any recordation costs. Lender may charge Borrower a fee for releasing this Security
Instrument, but only if the fee is paid to a third party for services rendered and the charging of the fee
is permitted under Applicable Law.

24. Substitute Trustee, Lender, at its option, may from time to time remove Trustee and appoint
a successor trustee to any Trustee appointed hereunder by an instrument recorded in the city or county
inwhich this Security Instrumentis recorded. Without conveyance of the Property, the successor trustee
shall succeed to all the title, power and duties conferred upon Trustee herein and by Applicable Law.

25. Possession of the Property. Borrower shall have possession of the Property until Lender has
given Borrower notice of default pursuant to Section 22 of this Security Instrument.

BY SIGNING BELOW, Borrower accepts and agrees to the terms and covenants contained in this
Security Instrument and in any Rider executed by B er apd led with it.

    

   

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State of MARYLAN| a
county of Hore
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On this S day of Rehr gay , before me,

: , the ufdersigned officer, personally
appeared Loncld (5 .¢ step
Cindy L. Estep!
ow) \
(name(s) of person(s) who make acknowledgement), known to me (or
satisfactorily proven) to be the person(s) whose name(s)
subscribed to the within instrument and acknowledged that
executed the same for the purposes therein contained.

 

 

   

 

 

 

 

 
 

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STATE OF Mm?) 7, H f County ss:
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| Hereby Certify, that on this S ay of m~ S oy before me, the

subscriber, a Notary Public of the State of and for the

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personally appeared,

 

 

 

the agent of the party secured by the foregoing Security Instrument, and made oath in due form of law
that the consideration recited in said Security Instrument is true and bona fide as therein set forth and
that the actual sum of money advanced at the closing transaction by the secuged party was paid over
and disbursed by the party or parties secured by the Security Instrumentto thes
responsible for disbursement of funds in the closing transaction or their reghbetive

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Se ent; and alsq made oath

  
  
  
         

 

Notary Public (LE

 

 

 

(“} This is to certify that the within instrument has been prepared under the supervision of a
Maryland attorney,

 

Name:
his is to certify that the within instrument has been prepared by

a party to the instrument.

 

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BOOK2 293 PLEO 99

LOAN #:
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ADJUSTABLE RATE AND BALLOON RIDER

(Index: Six-Month London Interbank Offered Rate (“LIBOR”) As Published in
The Wall St. Journal - Rate Caps)
{Amortization Period: FIFTY YEARS )
(Not Assumable)
(Not to be Used for Texas Homestead Loans Unless Proceeds Used Only for
Purchase Money or Refinance of Purchase Money)

 

This Adjustable Rate and Balloon Rider is made this 5TH day of FEBRUARY, 2007,
and is incorporated into and shall be deemed to amend and supplement the Mortgage,
Deed of Trust, or Security Deed (the “Security Instrument”) of the same date given by
the undersigned (the “Borrower”) to secure Borrower's Adjustable Rate Note as
amended and supplemented by the Interest Only Payment Period Note Addendum to
Adjustable Rate Note (collectively the “Note”) to FrRsT HOME MORTGAGE
CORPORATION, A MARYLAND CORPORATION

—_.

(the “Lender”) of the same date and covering the property described in the Security
Instrument and located at:

43 PINE BLUFF LANE

ELKTON, MD 21921

THIS LOAN IS PAYABLE IN FULL ON THE MATURITY DATE SET FORTH IN THE
SECURITYINSTRUMENT. THE BORROWER MUST REPAY THE ENTIRE PRINCIPAL
BALANCE OF THE LOAN, UNPAID INTEREST AND OTHER SUMS THEN DUE. THE
LENDER IS UNDER NO OBLIGATION TO REFINANCE THE LOAN AT THAT TIME.
THE BORROWER WILL, THEREFORE, BE REQUIRED TO MAKE PAYMENT OUT
OF OTHER ASSETS THAT THE BORROWER MAY OWN, OR THE BORROWER
WILL HAVE TO FIND ALENDER, WHICH MAY BE THE LENDER THE BORROWER
HAS THIS LOAN WITH, WILLING TO LEND THE BORROWER THE MONEY. IF THE
BORROWER REFINANCES THIS LOAN AT MATURITY, THE BORROWER MAY
HAVE TO PAY SOME OR ALL OF THE CLOSING COSTS NORMALLY ASSOCIATED
WITH A NEW LOAN EVEN IF THE BORROWER OBTAINS REFINANCING FROM
THE SAME LENDER.

ADDITIONAL COVENANTS. In addition to the covenants and agreements made in
the Security Instrument, Borrower and Lender further covenant and agree as follows:

A. INTEREST RATE AND MONTHLY PAYMENT CHANGES
The Note provides for an initial interest rate of 9.1003. The Note provides for
changes in the interest rate and the monthly payments as follows:

- Multistate Form FFo38eél Initials: LE
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4. INTEREST RATE AND MONTHLY PAYMENT CHANGES
(A) Change Dates
The interest rate | will pay may change on the first day of FEBRUARY, 2010,
and may change on that day every sixth (6") month thereafter. Each date on which my
interest rate could change is called a “Change Date.”

(B) The Index

Beginning with the first Change Date, my interest rate will be based on an|ndex. The
“Index” is the six month London Interbank Offered Rate (“LIBOR”) which is the average
ofinterbank offered rates for six-month U.S. dollar-denominated deposits in the London
market, as published in The Wall Street Journal. The mostrecent|Index figure available
as of the first business day of the month immediately preceding the month in which the
Change Date occurs is called the “Current Index.”

If the Index is no longer available, the Note Holder will choose a new index that is
based upon comparable information. The Note Holder will give me notice of this choice.

(C)Calculation of Changes
Before each Change Date, the Note Holder will calculate my new interest rate by
adding Five AND TWO-FIFTHS percentage point(s) (5.400% ) to

the Current Index. The Note Holder will then round the result of this addition to the nearest
one-eighth of one percentage point (0.125%). Subject to the limits stated in Section 4(D)
below, this rounded amount will be my new interest rate until the next Change Date.

The Note Holder will then determine the amount of the monthly payment that would
be sufficient to repay the unpaid principal that | am expected to owe at the Change Date
in full FIFTY (50) years after the date of the Note at my
new interest rate in substantially equal payments. The result of this calculation will be
the new amount of my monthly payment. | will pay the remaining unpaid principal
balance on the Maturity Date.

(D)Limits on Interest Rate Changes
The interest rate | am required to pay at the first Change Date will not be greater than
12.100% orlessthan 9.100%. Thereafter, my interest rate will never be increased
or decreased on any single Change Date by more than ong
percentage point(s) (1.000% ) from the rate
of interest | have been paying for the preceding six months. My interest rate will never
be greater than 15.1008 norlessthan 9.100%.

(E) Effective Date of Changes

My new interest rate will become effective on each Change Date. | will pay the
amount of my new monthly payment beginning on the first payment date after the
Change Date until the amount of my monthly payment changes again. Lye

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LOAN #:
(F) Notice of Changes pe

The Note Holder will deliver or mail to me a notice of any changes in my interest rate and
the amount of my monthly payment before the effective date of any change. The notice will
include information required by law to be given and also the title and telephone number of
a person who will answer any question | may have regarding the notice.

BY SIGNING BELOW, Borrower accepts and agrees to the terms and covenants
contained in this Adjustable Rate and Balloon Rider.

  

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[Sign Original Only]

- Multistate Form FFOs86!
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EXHIBIT "A"
Ucvic Gourd ¥. MU.

PER WILLIAM L. BRUECKMAN
ALL that lot or parcel of land in the Fift ection
District of Cecil County, State of Maryland, designated
as Lot No. 10 ona plat entitled "Resubdivision of Lot 4,
Plat Two, Pine Bluffs", and recorded among the Land
Records of Cecil County in Plat Book NDS No. 8 Folio 84.
The improvements thereon being known as No. 43 Pine Bluff
Lane.

TOGETHER WITH the right to use in common with the other owners
of the lots shown on the plat recorded among the Land Records
of Cecil County in Plat Book NDS No. 8 Folio 84, the right of
way known as Pine Bluffs Land, as shown on said plat, for
ingress, egress and regress between the lot hereby conveyed
and the public road.

SUBJECT, HOWEVER, to a Declaration of Restrictions by Sun
Company, Inc., dated August 7, 1984, and recorded among the
Land Records of Cecil County in Liber NDS No. 123 Folio 865.
